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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
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SEAN O'TOOLE, KELLEY O'TOOLE, }
STEVEN DANIEL LEE, JENNIFER LYNN }
CURTIS, and JACK FOSTER, }
Plaintiffs,
Noe. CV-11-01502 PJH

VS.

CITY OF ANTIOCH, ANTIOCH POLICE

| DEPARTMENT, JAMES HYDE, CHIEF OF

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}
|
}
)
i
ANTIOCH POLICE DEPARTMENT, NORMAN}
WIELSCH, JOSHUA VINCELET, JAMES }
WISECARVER JR., STEVEN AIELLO, }
AND DOES 1-20, inclusive, }
)

)

}

Defendants.

 

DEPOSITION OF STEVEN AIELLO
Vallejo, California

October 30, 2014

ATKINSON-BAKER, INC.

COURT REPORTERS

(800) 288-3376

www.depo.com

REPORTER: LAURA AXELSEN, CSR 6173

 

 
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SEAN O'TOOLE, KELLEY O'TOOLE,
STEVEN DANIEL LEE, JENNIFER LYNN
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Plaintiffs,

VS. No. CV-11-01502 PJH
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DEPARTMENT, JAMES HYDE, CHIEF OF
ANTIOCH POLICE DEPARTMENT, NORMAN
WIELSCH, JOSHUA VINCELET, JAMES
WISECARVER JR., STEVEN AIELLO,
AND DOES 1-20, inclusive,

Defendants.

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BE IT REMEMBERED THAT, pursuant to Notice and on
Thursday, October 30, 2014 at 10:09 a.m. thereof at 521
Georgia Street, Vallejo, California, before me, LAURA
AXELSEN, a Certified Shorthand Reporter, personally
appeared

STEVEN AIELLO,
called as a witness by the plaintiff.

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1 MR. BLECHMAN: Overbroad. Incomplete
2 | hypothetical. Calls for a legal conclusion, You can

3 | respond.

4 THE WITNESS: For us to preserve the evidence

5 | inside pending the issuance of a search warrant.

6 MR. PORT: QO. But under what circumstances

7 | may you do that?

8 MR. BLECHMAN: Same objection.
9 THE WITNESS: Many. I mean, it just depends.
10 | Everything's -- every circumstance, situation's

11 | different. I can't give you a hypothetical.

12 MR. PORI: Q. Okay. You did say that,

13.) uhm -- if I'm not mistaken -- that you were able to --

14 | you were authorized to freeze a business and then take

15 | control of individuals inside of the business?

16 A. To detain the individuals inside the business

17 | and to, you know, keep them from moving around and
18 | possibly destroying evidence inside, yes.

19 Q. Okay. So when you are securing an area

20 | pending the issuance of a search warrant, can you simply

21 | detain individuals simply because they're in a business?

22 MR. BLECHMAN: Incomplete hypothetical. Calls
23 | for a legal conclusion. You can respond.

24 THE WITNESS: Yes.

25 MR. PORI: Q. Okay. Do you -~ are you

 

 

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1 | the evidence in that business.

2 Q. And tell us what you mean when you say you

3 | have a right to detain that person.

4 MR. BLECHMAN: Calls for --

5 QO. What do you do when you detain somebody?

6 | MR. BLECHMAN: Calls for a legal conclusion.

7 | You can respond,

 

8 THE WITNESS: Contact them, identify them, see
9| what the relationship is tied to the business or the

10 | residence.

11 MR. PORI: Q. Do you search them?

12 A. Uhm, we -- me, personaily, yeah, I'll pat
13 | search them, make sure there's no weapons on them. I
14 | usually ask -- I almost always ask for consent

15 | beforehand, to pat search somebody.

16 Q. Okay. Okay. In this particular case, uhm, do
17) you recall, uhm, executing a search warrant on

18 | October 14th, 2009, at the Grow It Yourself Gardens?

13 A. I recall being at that location, yes.

20 QO. 401 Sunset Drive, uhm, Suite F, in Antioch,

21 | California; you recall being there?

22 A. Correct.

23 Q. And do you recall, uhm, entering into that

24 | business?

25 A. Yes.

 

 

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1 | that you're not allowed to even pat search an individu
2| for weapons simply because they're in a business that'
3 | about to be frozen?

4 MR. BLECHMAN: Same cbjections.

5 THE WITNESS: About to be frozen or that has

6 | been frozen?

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s

7 MR. PORI: Q. Either way. Either instance.
8 A. Well, if it's about to be frozen, I wouldn't
9|be making contact with them. If it was frozen and we

10 | were inside making contact, then I would pat search

11 | them.

12 Q. Okay. Based on the mere fact that the

13 | business was being frozen, correct?

14 A. Correct.

15 Q. Okay. So you don't pat search anybody, uhm

16 | well, let me ask it this way: When you pat search

17 | someone, you automatically pat search them when you're
18 | going to freeze a business; isn't that right?

19 MR. BLECHMAN: Overbroad. Incomplete

20 | hypothetical. You can respond.

21 THE WITNESS: It just depends on the

22 | circumstances.

23 MR. PORI: QO. Tell me some -- tell me as
24 | of circumstances when you would not pat search someone

25 | inside a business that is suspected to have marijuana

 

 

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1 | inside the business, or growing marijuana.

2 A. A circumstance when I would not?
3 QO. Yeah, when you would not.
4 A. I've never served a search warrant ona

2 | business where they were growing marijuana or had
6 | marijuana inside,
7 Q. Okay. Well, what about in the situation like
8 | the O'Toole case, where you were freezing the business?

9) Give me a set of circumstances when you were freezing a

 

10 | business, a home, or any other property, uhm -- give
11 | me -- where there's, uhm, no evidence that they're

12 |) presently armed and dangerous.

13 MR. BLECHMAN: Well, I think -- IT think you

14 | left off portions of the question, so I think it's Vague

 

15 | and ambiguous. If you understand it, you can respond.
16 THE WITNESS: I don't. It doesn't make any
17 | sense.

18 MR. PORT: Q. Okay. Let me ask it this

 

19 | way: Are you allowed to just simply pat search somebody

20 | just because you're going to freeze the business?

 

21 MR. BLECHMAN: Incomplete hypothetical. Calls
22 | for a legal conclusion. You can respond.

23 THE WITNESS: You're saying just because we're
24 | going to. It's either we have or we haven't. If we're

25 | in the business freezing or seizing the business, then

 

 

 

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i | yes, I believe we can pat search somebody --

2 MR. PORT: Q. Based on --

3 A. ~ for weapons.

4 Q. -- the mere fact that --

3 A. That we are inside the business freezing the

6 |} business.
7 Q. Okay. That's all I'm trying to get at.
8 So they don't have -- you don't have to make

9 | determination as to whether or not they're presently

a

10 | armed and dangerous before you pat search them, do you?
411 A. No, not from my knowledge, no. Not for me.
12 Q. Okay. So if you go into a business and your

13 | intention is to freeze the business, you're allowed to

14 | pat search for weapons, correct?

15 MR. BLECHMAN: Asked and answered. Incomplete

16 | hypothetical. Calls for a legal conclusion. You can
1? | respond again.
18 THE WITNESS: I know my practice is to pat

19 | search them for weapons.

20 MR. PORI: oO. Okay. And have you ever had

21 | an instance where you've gone into a place that you were

22 | freezing where you simply allowed people to leave the
23 | building without asking them for any information, pat
24 | searching, or doing anything, just allowing them to

25 | leave?

 

 

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1 MR. PORT: Q. Okay. But you see it in the
2 | camera, right?

3 MR. BLECHMAN: Calls for speculation. Lacks

4 | foundation.

5 THE WITNESS: I see them leaving the area from
6 | where the officer is walking and sitting down.

7 MR. PORI: QO. So they're not being

8 | detained; is that correct?

9 MR. BLECHMAN: Lacks foundation. Calls for a

 

19 | legal conclusion.

 

 

11 MR. PORI;: Q. Well, you work at the City of
12 Antioch as a police officer, correct?

13 A. Correct.

14 Q. And uhm, how many businesses have you frozen?
15 A. Businesses?

16 QO. Yeah.

17 A. Probably less than five.

18 Q. How many homes have you frozen?

19 A. I can't count.

20 Q. How many vehicles?

21 A. I don't know.

22 QO. Okay. When an individual is pat searched in
23 | this manner and is told to sit, is it -- is it normal

24 | practice for an Antioch police officer to pat search

25 | someone and then tell them to sit down?

 

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MR. BLECHMAN: Incomplete hypothetical. Lacks
foundation. Calls for speculation. Overbroad. Go
ahead.

THE WITNESS: I can't speak to what other
officers do.

MR. PORI: Q. Is there a policy on this,
Antioch police policy on this?

A. Not that I'm aware of.

Q. Detaining -- so just in general, is there an
Antioch Police Department policy on how it is that an
officer is supposed to freeze a business, what -- what

steps they are to take?

A. There's no policy.

Q. So it's on a case-by-case basis?

A. That's correct.

QO. Each officer determines what is appropriate?

MR. BLECHMAN; Argumentative. Lacks
foundation. Incomplete hypothetical. Calls for a legal
conclusion. You can respond.

THE WITNESS: Yes.

MR. PORI: QO. So Antioch leaves it up to
the individual officer in the field to make the judgment
call as to what is appropriate in a particular
circumstance when it comes to freezing a business,

correct?

 

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CERTIFICATE
1, the undersigned, a Certified Shorthand
Reporter, State of California, hereby certify that the
witness in tne foregoing deposition was by me first duly
sworn to testify to the truth, the whole truth, and
nothing but the truth in the within-eatitled cause; that
said deposition was takén at the time and place therein
scated; that. the testimony; of the said witness was
reported by me, a disinterested person, and was
thereafter transeribed under my direction into
cypewriting; that the foregoing is a full, complete, and
true record of said testimony; and that the witness was
given an opportunity to read it and, if necessary,
correct said deposition and to subscribe the Same; that
prior to the completion of the foregoing
deposition, review of the transcript was requested.

i further certify that I am not of counsel or
attorney for either or anv of the parties in the
foregoing deposition and caption named, nor in any way
interested_in the outcome of the cause named in said

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Cyecyg@er this llth day of November, 2014

Youn “ix. |

LAURA AXELSEN / C.8.R. 6173

 

 

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